           Case 2:18-cr-00069-KJM Document 23 Filed 05/10/18 Page 1 of 2



 1 CANDICE L. FIELDS, SBN 172174
   CANDICE FIELDS LAW
 2 455 Capitol Mall, Suite 802
   Sacramento, California 95814
 3 Telephone: (916) 414-8050
   Facsimile: (916) 790-9450
 4 cfields@candicefieldslaw.com

 5   Attorney for Defendant CHRISTINA BENNETT
 6

 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         Case No. 2:18-CR-00069-GEB

12                        Plaintiff,
                                                       STIPULATION AND [PROPOSED]
13                                                     ORDER FOR MODIFICATION OF
     v.                                                PRETRIAL RELEASE CONDITIONS
14

15
     WILLIAM BENNETT, et al.,
16
                          Defendants.
17

18

19          IT IS HEREBY STIPULATED by and between the parties hereto through their
20   respective counsel, Rosanne Rust, Assistant United States Attorney, attorney for Plaintiff,
21   and Candice L. Fields, attorney for defendant Christina Bennett, that the pretrial release
22   conditions for Christina Bennett be modified as follows:
23          14.    You must participate in a program of medical or psychiatric treatment,
24   including treatment for drug or alcohol dependence, as approved by the pretrial services
25   officer. You must pay for all or part of the costs of the counseling services based upon your
26   ability to pay, as determined by the pretrial services officer.
27   ///
28
     1     STIPULATION AND [PROPOSED] ORDER FOR MODIFICATION OF PRETRIAL RELEASE CONDITIONS
                                        Case No. 2:18-CR-00069-GEB
           Case 2:18-cr-00069-KJM Document 23 Filed 05/10/18 Page 2 of 2



 1          All other conditions remain in effect.
 2                                             Respectfully submitted,
 3

 4   Dated: May 9, 2018                        /s/ Candice L. Fields
 5                                             Candice L. Fields
                                               Attorney for Defendant
 6                                             CHRISTINA BENNETT
 7

 8
     Dated: May 9, 2018                 McGREGOR SCOTT
 9                                             United States Attorney

10
                                               /s/ Candice L. Fields
11                                             CANDICE L. FIELDS for
                                               ROSANNE RUST
12
                                               Assistant U.S. Attorney
13                                             Attorney for Plaintiff
14

15                                               ORDER
16          UPON the stipulation of the parties, IT IS HEREBY ORDERED THAT that the
17   conditions of pretrial release shall be modified to add the following condition:
18          14.    You must participate in a program of medical or psychiatric treatment,
19          including treatment for drug or alcohol dependence, as approved by the pretrial
20          services officer. You must pay for all or part of the costs of the counseling services
21          based upon your ability to pay, as determined by the pretrial services officer.
22   All other conditions of supervised release shall remain in effect.
23          IT IS SO ORDERED.
24   Dated: May 10, 2018
25

26

27

28
     2     STIPULATION AND [PROPOSED] ORDER FOR MODIFICATION OF PRETRIAL RELEASE CONDITIONS
                                        Case No. 2:18-CR-00069-GEB
